Case 2:04-cr-20223-.]PI\/| Document 105 Filed 04/21/05 Page 1 of 3 Page|D 189

v=u.;~ __

iN THE UNITED sTATEs DIsTRlCT coURT %7

FoR THE WESTERN DISTRICT oF TENNESSEE 05 apa g{ en di g
wEsTERN DIVISION '

P,oetzsr s. st ' 'f' to
`§%Ee§;: tgr.§ et .. ct
UNITED STATES OF AMERICA, l . r MEMPH'S

Plaintiff,
v. No. 04-20223-B
MICHAEL PRINCE,

Defendant.

 

ORDER OF REFERENCE

 

This Court previously referred to the magistrate judge the motion of the United States
for inquiry into the financial status of the Defendant, which was filed on March 24, 2005. On
April 13, 2005, Magistrate Judge S. Thomas Anderson set a hearing on the government’s motion
for Thursday, May 5, 2005 and directed that the Defendant complete a financial affidavit (Form
CJA 23) With the Court and with the United States Attorney’s Office forty-eight hours prior to
the hearing. The Defendant has submitted an objection to the magistrate judge’s order, along
with his response to the motion for inquiry.

In summary, the Defendant seeks to strike the magistrate judge’s order related to the
providing of financial information because he claims that such information should not be
provided to the government However, Prince does note that Magistrate ludge Vescovo, on July
14, 2004, apparently had a similar form completed by Prince which was filed with the Court and
Which was apparently available to the government for its inspection. Nonetheless, since the

objections filed by the Defendant all refer to the previous referred motion by the government,

Thls document entered on the docket s eat in com |iance
aim sure 55 and/or eatb) Fach on 213 69 11

Case 2:04-cr-20223-.]PI\/| Document 105 Filed 04/21/05 Page 2 of 3 Page|D 190

the magistrate judge is also to make a determination as to whether Prince’s objections should be
granted.

Accordingly, for the reasons stated herein, the Defendant’s objections and request for
relief are also referred to the magistrate judge for determination Any objections to the
magistrate judge’s order shall be made within ten (10) days after service of the order, setting
forth particularly those portions of the order objected to and the reasons for the objections

14
IT ls so oRDERED mis?l day Of Aprii, 2005.

 

J. DANIEL BREEN \
NIT D STATES DISTRICT JUDGE

   

UNITED `SATES DISTRIC COURT - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
case 2:04-CR-20223 Was distributed by faX, mail, or direct printing on
April 22, 2005 to the parties listed.

 

 

Cam ToWers J ones

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

